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                  UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF COLUMBIA

                               *
THE JAMES MADISON PROJECT,     *
et al.,                        *
                               *
    Plaintiffs,                *
                               *
          v.                   *       Civil Action No. 17-1392 (ABJ)
                               *
DEPARTMENT OF JUSTICE          *
                               *
    Defendant.                 *
                               *
*   *     *     * *   *   *    *   *   *     *    *     * *
                        REPLY IN SUPPORT OF
  PLAINTIFFS’ CROSS-MOTION FOR PARTIAL SUMMARY JUDGMENT
                   (ORAL ARGUMENTS REQUESTED)
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   The plaintiffs, The James Madison Project (“JMP”) and Politico reporter Josh

Gerstein (“Gerstein”)(hereinafter referred to jointly as “Plaintiffs”), brought this FOIA

action to secure the lawful disclosure of records held by the defendant agency

Department of Justice (“DOJ”) reflecting whether President Donald J. Trump

(“President Trump”) is and/or was a target of, subject of, or material witness to either the

“Russian collusion” or “obstruction of justice” investigations.

   Presently before this Court are competing cross-motions: DOJ seeks summary

judgment with respect the entirety of the underlying FOIA claims, whereas the Plaintiffs

only seek partial summary judgment with respect to the “Russian collusion” and/or

“obstruction of justice” investigations. Dkt. #11 (filed October 11, 2017); Plaintiffs’

Cross-Motion for Partial Summary Judgment (Dkt. #13)(filed October 25, 2017)

(“Plaintiffs’ Cross-Motion”); Defendant’s Reply in Support of its Motion for Summary

Judgment and Opposition to Plaintiffs’ Partial Cross-Motion for Summary Judgment

(Dkt. #15)(filed November 22, 2017)(“Def’s Reply”). This final reply brief is necessarily

limited only to supporting the Plaintiffs’ arguments in favor of partial summary

judgment.

   For the reasons set forth in detail below, this Court should grant the Plaintiffs’

Cross-Motion for Partial Summary Judgment (“Cross-Motion”) with respect to the

impropriety of DOJ’s invocation of Glomar responses regarding the “Russian collusion”

and/or “obstruction of justice” investigations.
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                                       ARGUMENT

I. THE DOJ IS MISCONSTRUING THE APPLICABLE CASE LAW
   CONCERNING OFFICIAL DISCLOSURES IN THE CONTEXT OF A
   GLOMAR RESPONSE

   The case law within this Circuit addressing the “official acknowledgment” exception

to the Glomar standard is only 10 years old, and was first addressed in Wolf v. CIA,

473 F.3d 370 (D.C. Cir. 2007). “In the Glomar context, then, if the prior disclosure

establishes the existence (or not) of records responsive to the FOIA request, the prior

disclosure necessarily matches both the information at issue – the existence of records –

and the specific request for that information.”. Id. at 379 (emphasis in original).

   As the Plaintiffs explained in their Cross-Motion, however, both the D.C. Circuit and

at least one court within this Circuit have provided clarifying guidance with respect to the

nuances of evaluating official disclosures in Glomar cases. Specifically, the Plaintiffs

outlined how the courts have addressed official disclosures that specifically implicate the

topic of a FOIA request while not acknowledging the existence (or non-existence) of

actual records with the level of exactitude that the courts otherwise require for the

substantive contents of records. See Plaintiffs’ Cross-Motion at 3-4, 12-13.

   In ACLU v. CIA, 710 F.3d 422 (D.C. Cir. 2013), the Circuit evaluated official

disclosures in the context of a FOIA request that sought not merely records reflecting the

CIA’s “interest” in drone strikes – as the DOJ would have this Court believe, see Def’s

Reply at 14 – but broadly sought records “pertaining to the use of unmanned aerial

vehicles (‘UAVs’) – commonly referred to as ‘drones’ … - by the CIA and the Armed

Forces for the purpose of killing targeted individuals.” See ACLU, 710 F.3d at 425. None

of the official disclosures cited to by the Circuit – whether they were from then-President




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Barack Obama, then-Assistant to the President for Homeland Security and

Counterterrorism John Brennan, or then-Director of the CIA Leon Panetta – ever

specifically acknowledged that CIA was involved in drone strikes, let alone that CIA

would have any documents specifically about the drone strikes. Id. at 428-432; see also

id. at 430 (“It is true, of course, that neither the President nor any other official has

specifically stated that the CIA has documents relating to drone strikes …”)(emphasis in

original). Notwithstanding that limitation on the exactitude of the official disclosures, the

Circuit still found them to be sufficiently specific to justify rejecting CIA’s Glomar

response. Id. at 428-29.

    The Plaintiffs submit the rationale in ACLU was premised on the creation of a

“neither logical nor plausible” inference, see id. at 430, upon which courts can rely when

sifting through the nuances of an official disclosure. To be unequivocally clear, the

Plaintiffs are not saying the Wolf standard was changed by the ruling in ACLU; the

burden is still on FOIA plaintiffs to identify sufficient evidence of specific official

disclosures necessary to establish the existence or non-existence of responsive records.

However, the Circuit in ACLU did provide additional guidance on how much latitude

courts have in considering the specificity that is required in the context of those official

disclosures. The ACLU ruling established that courts are permitted to evaluate whether it

would be either logical or plausible to infer that the official disclosures sufficiently

establish the existence or non-existence of responsive records even if those official




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disclosures did not specifically and exactly state that responsive records did or did not

exist. 1

    In the ACLU ruling, the Circuit relied upon that inferential authority to conclude the

official disclosures sufficiently acknowledged the fact that the U.S. Government conducts

drone strikes. Id. at 430-32. It was therefore neither logical nor plausible that the CIA

would not have records reflecting the existence of those drone strikes (even if the CIA

itself was not the one conducting those drone strikes). Id. at 431 (“Unless we are to

believe that the Director was able to ‘assure’ his audience that drone strikes are ‘very

precise and . . . very limited in terms of collateral damage’ without having examined a

single document in his agency’s possession, those statements are tantamount to an

acknowledgment that the CIA has documents on the subject.”).

    Similarly, in Smith v. CIA, 246 F. Supp. 3d 28 (D.D.C. 2017), U.S. District Court

Judge Tanya Chutkan (“Judge Chutkan”) rejected a CIA Glomar response in light of

relevant and material (although not exactly specific) official disclosures. Id. at 32-34.

Judge Chutkan concluded it was neither logical nor plausible to conclude that then-

President Obama’s statements about providing “military and intelligence assistance” to




1
 DOJ’s attempt to re-write the ACLU ruling’s premise, see Def’s Reply at 15 n.6, fails to
withstand scrutiny. DOJ’s suggestion that the Circuit’s reference to the “logical and
plausible” standard should be construed only as indicating the CIA’s legal failure to
properly satisfy the requirements of FOIA Exemption 1, see id., and not as clarifying the
“official acknowledgement” standard, requires this Court to effectively pretend entire
paragraphs of the Circuit’s analysis do not exist. The Circuit devoted twelve paragraphs
outlining the various official disclosures upon which its analysis was based, see ACLU,
710 F.3d at 429-432, and did not indicate it was justifying its conclusions with respect to
anything other than the “official acknowledgment” exception to a Glomar response.


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Israel had not sufficiently acknowledged that the CIA would have budget line items

related to intelligence assistance to Israel. Id. at 33-34. 2

    In both cases, the official disclosures by U.S. Government officials never exactly

stated that there were records in existence (or not in existence) that were specific to the

scope of records sought by the ACLU or the Smith plaintiffs. Indeed, in neither case did

the official disclosures say anything about the specific existence or non-existence of

records responsive to the FOIA requests at issue. Nonetheless, in both cases a

determination was made that the official disclosures acknowledging the overarching

concept – in ACLU, the existence of drone strikes by the U.S. Government, and in Smith,

the existence of U.S. Government assistance to Israel – were sufficiently specific to the

scope of information sought by the underlying FOIA requests so as to render invalid the

Glomar responses as a matter of law. 3 See ACLU, 710 F.3d at 431; Smith, 246 F. Supp.

3d at 33.

    The Plaintiffs respectfully do not read this Court’s ruling in Cause of Action v.

Treasury Inspector Gen. for Tax Admin., 70 F. Supp. 3d 45 (D.D.C. 2014) as conflicting

with the Plaintiffs’ understanding of the ACLU standard. In Cause of Action, this Court

concluded that the defendant agency had waived the propriety of its Glomar response by

2
 Even though the Smith ruling is being reconsidered, see Def’s Reply at 16 n.7, unless
and until it is reversed Judge Chutkan’s analysis and conclusions remain in place and
retain their persuasive value.
3
  Those factual applications of the standard are consistent with how other courts within
this Circuit have evaluated official disclosures when upholding Glomar responses in the
aftermath of the ACLU ruling. See e.g., Agility Pub. Warehousing Co. K.S.C. v. NSA,
113 F. Supp. 3d 313, 333 (D.D.C. 2015)(concluding NSA’s acknowledgment of metadata
collection from Verizon Business Network Services did not constitute acknowledgment
of metadata from other service providers); Competitive Enter. Inst. v. NSA, 78 F. Supp.
3d 45, 54-55 (D.D.C 2015)(finding that NSA’s official disclosures only acknowledged
collection of “telephony metadata”, not texts or e-mails).


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having officially acknowledged the existence of the very investigation regarding which

the underlying FOIA request was seeking records. Id. at 56. This Court specifically

highlighted two official records that had already been disclosed: a letter from the

Inspector General for Tax Administration to several members of Congress, stating that a

review would commence, and a later e-mail from the relevant investigator stating that a

final report had been produced. Id. at 57. Although this Court stated that it could

conclude the first letter was insufficient on its own under the ACLU standard, this Court

ultimately did not have to render a decision one way or the other on that question due to

the existence of the separate e-mail from the investigator. Id.

   The Plaintiffs are cognizant that, even if only as dicta, this remark in Cause of Action

was certainly indicative to some extent of this Court’s view of the precedent set forth in

Wolf and ACLU. However, the Plaintiffs respectfully submit that this Court would have

been within its discretion and in compliance with binding case law to have concluded that

the letter from the Inspector General alone was sufficient to defeat the Glomar response

in Cause of Action. The Plaintiffs respectfully contend that, consistent with

Judge Chutkan’s analysis in Smith, this Court could have properly concluded that the

specific “matching” criteria that arose out of Fitzgibbon v. CIA, 911 F.2d 755 (D.C. Cir.

1990) – and to which this Court alluded, see Cause of Action, 70 F. Supp. 3d at 57 - was

not applicable in that situation and did not require (although it certainly did not preclude

either) the existence of the investigator’s e-mail in order for the plaintiffs in Cause of

Action to prevail. Rather, by officially disclosing the existence of an internal review by

the Office of Inspector General, the letter on its own rendered it logical and plausible for

this Court to infer that the defendant agency official disclosure was a sufficiently specific




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acknowledgment of the existence of records responsive to the Cause of Action plaintiff’s

FOIA request.

   The Plaintiffs further respectfully submit that for this Court to construe the applicable

case law to the contrary would directly conflict with the circumstances that existed in

ACLU. The plaintiffs in ACLU could not point to the type of exacting and specific

official disclosures that existed in Cause of Action but the Circuit did not conclude that it

was necessary for them to do so either in order to prevail on the basis of an “official

acknowledgment” argument. It would be contrary to precedent for this Court to now

attempt to do so here in the present case.

II. THIS COURT HAS THE DISCRETIONARY AUTHORITY TO
    INCORPORATE BY REFERENCE UNOFFICIAL DISCLOSURES THAT
    HAVE BEEN OFFICIALLY ACKNOWLEDGED

   The Plaintiffs explained in their Cross-Motion that this Court retains the equitable

discretionary authority to “incorporate by reference” otherwise-unofficial information

regarding which President Trump had substantively and directly addressed by way of his

official disclosures. See Plaintiffs’ Cross-Motion at 8-9. The Plaintiffs argued that

discretionary authority permitted this Court to incorporate by reference portions of a

media report to which President Trump was referring that indicated the President is the

subject or target of the “obstruction of justice” investigation. Id.

   Although DOJ takes issue with the premise of the Plaintiffs’ argument, see Def’s

Reply at 8-9, they do not – nor could they, see Plaintiffs’ Cross-Motion at 9 – cite to any

case law (particularly any adverse case law) that is directly on-point with respect to the

factual circumstances in the present case. DOJ’s counter-argument ultimately boils down

to a “slippery slope” public policy concern that if this Court were to side with the




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Plaintiffs’ view of its authority it would interfere with the ability of government officials

to comment on news reports. See Def’s Reply at 8.

   Although DOJ’s public policy concern is legitimate in the abstract, the position

advanced by the Plaintiffs here is rather narrow and would more than likely be applied by

future courts as the exception rather than the rule. The Plaintiffs do not contend that any

remark by a government official with respect to unofficial information detailed in a news

report would require the courts to incorporate by reference the relevant portions of the

news report as “officially acknowledged.” Such a position is far beyond the scope of

what the Plaintiffs are seeking here. Rather, it is the Plaintiffs’ narrow argument that this

Court retains the discretionary authority to incorporate by reference unofficial

information if – and only if – the authorized government official has substantively and

concretely relied upon and/or addressed that unofficial information on its merits.

   For context, the Plaintiffs submit the following two factual hypotheticals with respect

to how this Court could evaluate official statements addressing a media report. On

September 11, 2017, the media site InfoWars posted a story claiming that “Deep State”

operatives were putting sedatives in President Trump’s food and drink. https://www.info

wars.com/deep-state-drugging-trump-ahead-of-coup-sources-say/ (last accessed

November 26, 2017). For the record, the undersigned have no basis to believe this story is

factually correct.

   In the first factual hypothetical, White House Press Secretary Sarah Huckabee-

Sanders (“Mrs. Sanders”) – in a manner consistent with the methods employed by past

White House spokespeople – either declines to comment on the story or states that she is

not aware of any information that would suggest the story is true. Mrs. Sanders has now




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officially commented on the story, and has even given a quasi-denial, but has not in any

way substantively addressed the merits of the claims in the story. In that circumstance,

there would be no legal basis for the courts to view any aspect of the InfoWars story as

“officially acknowledged”.

   In the second hypothetical, President Trump posts on Twitter that he just learned of a

plot by “the Deep State” to poison him. In a White House press briefing that same day,

Mrs. Sanders explains that the President just read the InfoWars story and confirms that

the President’s tweet was made in response to the claims outlined in the story. President

Trump subsequently states in a later media interview that he wants Congress to

investigate the claims made in the InfoWars story. In that situation, the Plaintiffs submit

that the courts would retain the discretionary authority to view at least the “poisoning”

portion of the InfoWars story as “officially acknowledged”. The distinction between the

first and second hypothetical is that in the latter both President Trump and Mrs. Sanders

substantively addressed the merits of the claims – in that President Trump definitively

stated he was aware of a plot to poison him and Mrs. Sanders reiterated his position – and

President Trump then went so far as to call for an investigation into those claims.

   The factual hypothetical in the second scenario, of course, is not the work of mere

fantasy or fiction. A very similar situation transpired in March 2017 with respect to

allegations that the Obama Administration had secured surveillance warrants targeting

President Trump and/or his associates during the presidential campaign. President Trump

made a series of official statements – both via Twitter and in media interviews – in which

he stated that the Obama Administration had his “wires tapped” and that at least one

application for surveillance had been rejected. https://www.nytimes.com/2017/03/04




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/us/politics/trump-obama-tap-phones.html (last accessed November 26, 2017);

http://www.foxnews.com/politics/2017/03/15/trump-calls-tax-return-leak-illegal-thinks-

msnbc-report-is-disgrace.html (last accessed August 15, 2017). In an attempt to explain

the context of President Trump’s remarks, then-White House Press Secretary Sean Spicer

(“Mr. Spicer”) resorted to substantively citing and relying upon unofficial disclosures in

media reports as the factual justification for President Trump’s official statements that

such surveillance (and applications for warrants authorizing surveillance) had transpired.

https://www.whitehouse.gov/the-press-office/2017/03/16/press-briefing-press-secretary-

sean-spicer-3162017-25 (last accessed November 26, 2017)(referencing at least nine

separate media reports addressing unofficial assertions that surveillance had occurred or

been requested by Obama Administration and expressing President Trump’s desire for an

investigation into controversy).

   Those actions by President Trump and Mr. Spicer could reasonably be construed as

substantively addressing and/or relying upon the unofficial disclosures on their merits.

Similarly, in the present case, President Trump substantively addressed the merits of the

media reports about Mr. Mueller’s investigation, stating without equivocation that he

(President Trump) is being investigated for firing Director Comey. See Plaintiffs’ Cross-

Motion at 8. This was not President Trump merely commenting on a story, but rather

concretely adopting the otherwise-unofficial disclosures in that story as factual truth.

There is nothing in President Trump’s June 16, 2017, tweet that could reasonably be

construed as suggesting anything other than the idea that what is claimed in the media

report – that Mr. Mueller’s investigation encompasses a potential “obstruction of justice”




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charge against President Trump for firing Director Comey – is accurate as a factual

matter.

    The Plaintiffs are fully cognizant that these are somewhat uncharted waters in which

they are asking this Court to swim. However, the unorthodox and unconventional manner

by which the current Administration addresses claims in media reports has left the

Plaintiffs with no other choice but to seek judicial clarity with respect to the scope of the

“official acknowledgment” exception to the Glomar response. 4

    If President Trump’s tweets and public remarks are, in fact, official statements from

the Office of the President of the United States, they must hold some meaning and legal

value, particularly when the President chooses to incorporate media reporting to support

the legitimacy of his official statements and for the purposes of influencing the thinking

of Americans across our country.

III. AS A MATTER OF LAW, THE OFFICIAL DISCLOSURES BY PRESIDENT
     TRUMP ARE SUFFICIENT TO DEFEAT IN PART THE GLOMAR
     RESPONSE

    In their Cross-Motion, the Plaintiffs outlined the material information that had already

been officially disclosed that was relevant to this Court’s assessment of DOJ’s Glomar

responses with respect to the “Russian collusion” and/or “obstruction of justice”

investigations. Plaintiffs’ Cross-Motion at 5-9.



4
 In a separate, unrelated FOIA case pursued by the undersigned on behalf of the same set
of plaintiffs, DOJ filed a brief in response to a court order asking for the Government’s
position on the “official” nature of tweets issued by President Trump. In its brief, DOJ
stated the following: “In answer to the Court’s question, the government is treating the
President’s statements to which plaintiffs point – whether by tweet, speech or interview –
as official statements of the President of the United States.” See Exhibit “1” at *4
(Defendants’ Supplemental Submission and Further Response to Plaintiffs’ Post-Briefing
Notices)(filed in James Madison Project, et al. v. Dep’t of Justice, et al., Civil Action No.
17-144 (D.D.C.)(APM))(Dkt. #29)(filed November 13, 2017)).


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    Specifically, President Trump has officially disclosed that former FBI Director James

Comey (“Director Comey”) informed him on three separate occasions that he was not

under investigation in the context of the “Russian collusion” investigation. Id. at 5-7.

President Trump further officially disclosed that he has not been asked to be interviewed

by Special Counsel Robert Mueller (“Mr. Mueller”) in the context of the “Russian

collusion” investigation. Id. at 8.

    The President’s official disclosures concerning the information provided to him by

Director Comey are critical and ultimately are fatal to DOJ’s Glomar response.

President Trump unequivocally has officially acknowledged that on three separate

occasions he was informed by no less an authoritative source than the Director of the FBI

that he (President Trump) was not under investigation in the context of the “Russian

collusion” investigation. Just like with the circumstances in ACLU, unless we are to

assume that Director Comey provided that reassurance to President Trump on three

separate occasions without ever having reviewed a single DOJ document or having a

single discussion with anyone within DOJ, President Trump’s official statements

sufficiently qualified as an official acknowledgment that DOJ has documents that would

be responsive to the Plaintiffs’ FOIA requests. Indeed, it would be neither logical nor

plausible to conclude that Director Comey’s remarks to President Trump were not based,

at least in part, upon information that was previously reduced to writing and that reflect

discussions regarding whether President Trump is/was a target of, subject of or material

witness to the “Russian collusion” investigation.




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    President Trump also officially acknowledged the existence of the “obstruction of

justice” investigation by stating unequivocally that he is “being investigated” for firing

Director Comey. Plaintiffs’ Cross-Motion at 8. DOJ has already officially disclosed that

Deputy Attorney General Rod Rosenstein (“Mr. Rosenstein”) – who later authorized the

appointment of Mr. Mueller as Special Counsel – drafted for Attorney General Jeff

Session’s review a memorandum outlining bases justifying a decision by President

Trump to fire Director Comey. http://www.foxnews.com/politics/2017/05/19/rosenstein-

on-comey-memo-wrote-it-believe-it-stand-by-it.html (last accessed November 24, 2017)

(summarizing Mr. Rosenstein’s testimony to Congress); http://www.bbc.com/news/

world-us-canada-39866767 (last accessed November 24, 2017)(Mr. Rosenstein’s

memorandum). 5 It is Mr. Rosenstein to whom President Trump was referring in his

June 16, 2017, tweet 6, and it is the Special Counsel investigation authorized by

Mr. Rosenstein that President Trump is now claiming has targeted him (President Trump)

for potential obstruction of justice related to the firing of Director Comey.

    Once again, DOJ’s Glomar response is undone by none other than President Trump’s

own official statements. It was President Trump – and President Trump alone – who

officially acknowledged the existence of an investigation into his decision to fire


5
 The Plaintiffs are providing these additional citations to official statements out of an
abundance of caution, and only as a result of DOJ’s argument, see Def’s Reply at 7, that
President Trump’s June 16, 2017, tweet was insufficiently specific in identifying the
referenced individual. Although the Plaintiffs believe the official disclosures originally
provided in their Cross-Motion more than sufficiently met their burden to demonstrate
the official acknowledgment of the existence of the “obstruction of justice” investigation,
they are nonetheless filling in here any potential factual gaps this Court might believe
remained open.
6
 The Plaintiffs apologize for initially mis-identifying Mr. Rosenstein and incorrectly
indicating it was Mr. Mueller to whom President Trump was referring in the
June 16, 2017, tweet. See Plaintiffs’ Cross-Motion at 13.


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Director Comey. It was President Trump who chose to incorporate by reference

otherwise-unofficial information contained in media reports and to subsequently issue an

official statement deriding as a witch hunt the investigation looking into the details

surrounding his firing decision. President Trump’s official disclosures are more than

sufficient to constitute the acknowledgement of the existence of responsive records

implicating the “obstruction of justice” investigation.

   If DOJ is concerned about the integrity of the Special Counsel investigation being

undermined, they need thank none other than the President himself for having done so.

These official disclosures by President Trump are more than sufficient to warrant denying

DOJ’s Glomar responses with respect to the “Russian collusion” and/or “obstruction of

justice” investigations.

                                     CONCLUSION

   For the foregoing reasons, the Plaintiffs’ Cross-Motion for Partial Summary

Judgment should be granted.




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Date: November 29, 2017

                                   Respectfully submitted,

                                            /s/
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